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            United States Court of Appeals
                 for the Fifth Circuit
                                      ___________
                                                                 United States Court of Appeals
                                       No. 21-40259                       Fifth Circuit


                                      ___________                       FILED
                                                                November 24, 2021
   United States of America,                                       Lyle W. Cayce
                                                                        Clerk
                                                             Plaintiff—Appellee,

                                          versus

   Jose Roman,

                                             Defendant—Appellant.
                    ______________________________

               Application for Certificate of Appealability from the
          United States District Court for the Southern District of Texas
                             USDC No. 7:20-CV-102
                  ______________________________

   ORDER:
           IT IS ORDERED that the Appellant’s motion for a certificate of
   appealability is DENIED.
           IT IS FURTHER ORDERED that the Appellant’s motion to proceed
   in forma pauperis is DENIED.



                                          ___________________________
                                          James C. Ho
                                          United States Circuit Judge



A True Copy
Certified order issued Jan 18, 2022


Clerk, U.S. Court of Appeals, Fifth Circuit
